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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________________

UNITED STATES OF AMERICA,

                                        Plaintiff,                            ORDER
        v.
                                                                            08-cr-87-bbc
JARRELL MURRAY,

                                  Defendant.
__________________________________________________________________________________________

        On November 7, 2008, counsel for defendant Jarrell Murray filed an ex parte motion for an

order directing telephone access to her client. Counsel reports that her client is in federal custody

in the Lafayette County Jail in Mississippi (LCJ) awaiting transport to this district to face charges.

Counsel reports that she must communicate immediately with her client at LCJ in order to convey

an oral communication from the U.S. Attorney’s Office. Although counsel does not say so, I surmise

that the government has made a plea offer with an expiration date. Counsel reports that she cannot

reach her client because LCJ’s telephone service provider does not allow collect calls to Dane county

Wisconsin, and LCJ’s policies do not allow calls into the jail of the sort that counsel tried to arrange

with her client. The court understands and is sensitive to LCJ’s need for consistent policies on

telephone contact with its prisoners. However, in this case, there is a legitimate need for counsel to

communicate promptly with her client, and the collect-call policy of LCJ does not allow such

communication to occur.

                Therefore, it is ORDERED that the United States Marshals Service promptly shall

make arrangements with the Lafayette County Jail that allow defendant Jarrell Murray to speak

telephonically with his attorney in Madison for the purpose of conferring about the time-sensitive

communication from the United States Attorney’s Office.

        Entered this 7 th day of November, 2008.

                                                BY THE COURT:

                                                /s/

                                                STEPHEN L. CROCKER
                                                Magistrate Judge
